Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 1 of 42

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

GAINESVILLE DIVISION
ANDREW H WARREN
VS USDC NO. 4:22-cv-00302-RH-MAF
USCA NO.

RON DESANTIS

TRANSMITTAL OF NON-PARTY NOTICE OF APPEAL

The following documents are hereby transmitted to the Clerk, U. S. Court of Appeals.
The Certified copy of the appeal notice, docket entries, judgment/opinion/order appealed from
are enclosed.

First Appeal Notice.

There was no hearing from which a transcript could be made.

The appellate docket fee paid. Date paid: 9/27/2022 - receipt number 1-4439
Judge/Magistrate Judge appealed from: JUDGE ROBERT L HINKLE

Please acknowledge receipt on the enclosed copy of this transmittal to: GAINESVILLE DIVISION

JESSICA J. LYUBLANOVITS,
CLERK OF COURT

s/ KELL] MALU

By: Kelli Malu

Deputy Clerk

401 SE 1* Avenue, Ste 243
September 27, 2022 Gainesville, Florida 32601
Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 2 of 42
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 1 of 22

In The
United States District Court
Northern District of

Florida

ANDREW WARREN, Number:
PLAINTIFF, 4:22-cv-00302-RH-MAF
Vv.

RONALD DESANTIS, ET AL.

DEFENDANTS.

Nee ee Ne

Notice of Appeal

NOW COMES, Scott Huminski (“Huminski”), and notifies that he hereby appeals to the
United States Court of Appeals for the 11" Circuit from denial of intervention (Docket Entry # 9)
in the order of 9/2/2022, served on 9/6/2022, (Docket Entry # 31) and from the decision of the
Court not to docket or hear the Motion for Reconsideration / Rehearing dated 9/10/2022
requesting rehearing related to DE 31.

Q3Q2 2223 ORDER DENYING & 12 MOTIONS 10 INTERVENE. Mr. Hoeieskis momen for leave so intervene, ECE No.9 derued, Hes nati é or agpeararce, ECF No.2 and allidesit,
ECF No. 26x acl. Mc LoRusso’s amends cailem, ECF No.2, is deamsda motion dr leave oamerace The on is denied. Te clerk mst provide copies of this onder to
Ma HTochashs and Mr LoRusso but rat add them to the docket or provide them copues of inher filings, Scared bv JUDGE ROBERT L HINKLE on (9 02 202% frcb}**Copies of ECF
“3 Atrwarded as duzcted to Me LoRusso & Me Hemunsts"* Mevified 00 96. 2022 (rch). Entered: 19.06 0)

 
  

The order, DE 31, was mailed to Huminski on 9/6/2022 which was received by Huminski
via the USPS on 9/10/2022.

Huminski also appeals from the Court Below’s refusal to docket and hear the motion for
reconsideration/rehearing authored and mailed to the Court on 9/10/2022 and received via the
USPS by the Court on 9/14/2022 and never docketed. After the failure to docket, Huminski hand-
delivered the 9/10/2022 motion for reconsideration/rehearing on 9/19/2022 and a true and correct

copy of the file-stamped paper received by the District Court is attached hereto as Exhibit “A”,

Attached hereto as Exhibit “B” is the file stamped copy of Huminski’s notice of service and
mailing to the Court (concerning the mailing and delivery of the motion to reconsider) hand

delivered on 9/19/2022 to the District Court and never docketed after the paper was accepted and

 
Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 3 of 42
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date-stamped by the clerk.

Attached hereto as Exhibit “C” is a true and correct copy of the envelope that mailed the
9/2/2022 denial of intervention to Huminski with a mailing date of 9/6/2022.

Attached hereto as Exhibit “D” is a true and correct copy of the order denying intervention

under appeal.

Huminski notes that pursuant to the order of 9/2/2022, Huminski is forbidden from filing
this Notice of Appeal in stark contrast to the First Amendment, Due Process and Equal Protection

as quoted below,

“Mr. Huminski and Mr. LoRusso should file nothing further. This is not an open forum for
submission of public comments.”

Subsequently, the clerk below simply discarded the filings of Huminski. See Exhibit “A”
and “B”, hand-delivered, file stamped and then discarded by the District Court. The above quote
is the unconstitutional language relied upon by the clerk of the Court Below regarding the refusal
to file documents. It is a dubious proposition that this notice of appeal will be docketed given the
prohibition on speech and redress of grievances adopted by the Court below. This use of a prior
restraint concerning access to the Courts should be squarely reversed just as the use of trespass

notices to restrict courthouse access was deemed unconstitutional in a prior Huminski court access
case. See Huminski v. Corsones, 396 F.3d 53 (2d Cir. 2005).

In addition to direct appeal, Huminski seeks a writ of prohibition/mandamus regarding
the District Court’s prior restraint upon speech concerning Huminski’s motion to reconsider
(Exhibit “A”) and Exhibit “B” and this paper. This paper will be hand-delivered to the District
Court, whether it is docketed or just merely discarded is unknown. Huminski faces the risk that
he may face contempt charges and incarceration for merely filing this notice of appeal or the two
other papers that the clerk below refused to docket. The epitome of a “chilling” effect upon

speech just as egregious as Governor DeSantis’ conduct making permanent the lifetime speech

prohibition in 2021-2022 that formed the basis for intervention set forth below,

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Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 3 of 22

Dated at Miami, Florida this 27" gay of September, 2022.

 

 

Scott Huminski, pro se
P.O. Box 353820
Palm Coast, FL 32135
(239) 300-6656
S_Huminski@live.com

Certificate of Service

Copies of this document and any attachment(s) was served upon the parties via the U.S. Mails
and/or email and/or the e-filing system in this case.

Dated this 27" day of Septemb 22.
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-/s/- Scott Huminski ee ee
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Scott Huminski

EXHIBIT “A”
Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 5 of 42
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 4 of 22

In The
United States District Court
Northern District of
Florida
ANDREW WARREN, Number:
PLAINTIFF, 4:22-cv-00302-RH-MAF
v.

RONALD DESANTIS, ET AL,
DEFENDANTS.

Nee Nee

Motion for reconsideration/rehearing Re: Denial of
intervention 9/2/2022

NOW COMES, Scott Huminski (“Huminski”), and moves _ for

reconsideration/rehearing of the denial of intervention of September 2, 2022 for the reason that

Huminski’s facts are consistent with the torts alleged by the Plaintiff — First Amendment

retaliation by the Governor. The Governor tortuously chose to make permanent the lifetime

banishment of Huminski from communication with the entire State Government of Florida
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The Governor accomplished the outrageous lifetime silencing of Huminski in State Court
litigation in 2021 and 2022 whereby Defendant DeSantis engaged in a course of conduct in 2 State

Courts to see to it that the above speech prohibition would prejudice, injure and harm Huminski

for the remainder of his life. First Amendment retaliation embodied in ‘No Communication with

the Parites in the civil or criminal case [State of Florida]” could net be more egregious, over-broad

and vague. It is wildly unconstitutional, yet, it was vigorously fought for by the Governor.

The Governor engaged in one count of First Amendment retaliation against Mr. Warren, in

contrast, Huminki has been silenced for life and the retaliation continues into the future

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Huminski agrees that denial of the non-party’s (Mr. LaRusso) Amended Complaint was
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Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 5 of 22

proper even construed as a Motion to Intervene because a tort attributed to the Governor is not
mentioned in the paper. Court proceedings are not a sounding board. Huminski’s tort allegations
relate to the Governor’s conduct in State Court proceedings (2021, 2022) that made a lifetime
prohibition against Huminski’s speech with the entire State Government of Florida permanent.
The retaliation against the speech of Huminski by the Govemor is a continuing tort that will
prohibit speech in perpetuity and cause ongoing prejudice, injury and harm. The Governor
proceeds with his policies with reckless indifference to the First Amendment rights of the citizens
of Florida — Huminski. Mr. LaRusso’s “Amended Complaint” fails to allege any injury.

The paper concurrently decided in the 9/2/2022 order is Mr. LaRusso’s “Amended
Complaint” that does not mention a tort of Defendant DeSantis once. Why the Court lumped
Huminski’s motion to intervene and memo of law proffering torts against the Governor in the
same order is bewildering and defies logic and will make appellate review complex and also

bewildering.

Further, the denial of intervention, fails to set forth a sufficient record for appeal with zero
analysis of fact or law proffered by Huminski. It only speaks of the paper of Mr. LaRusso. The
reasoning is quite clear with regard to the “Amended Complaint” of Mr. LaRusso.

Huminski notes the failure of any party to oppose intervention or allege prejudice is a
significant factor conceming intervention in his favor. A fact not plead by Mr. LaRusso because

he did not seek to intervene, A different legal standard and analysis is applicable.

The Court’s addressing Huminski’s intervention in the same paper and for the same
reasoning as an “Amended Complaint” when the fact and law differ massively from the order
denying a paper that does not request intervention, does not state a claim in common with that of
the Plaintiff and has no relevance to the issues at Bar is puzzling. In contrast, Huminski alleges
First Amendment retaliation similar to that of the Plaintiff, ie. Huminski’s banishment from
communication with the entire State of Florida government for life in retaliation for core protected
First Amendment expression. Mr. Warren’s speech is also core protected political expression.
The other so-called “intervenor” denied in the same order of 9/2/2022 does not request

intervention nor does he allege any legal grounds for intervention.

Denying Mr. LaRusso’s “Amended Complaint’ with the same order as Huminski’s
intervention motion is without logic and the legal standard for analysis of an “Amended
Complaint” versus a motion to intervene with adequate fact and legal argument is quite different.
Further Mr. LaRusso’s paper does not allege any claims or points of law in common with the

Plaintiff. This is not the case in Huminski’s First Amendment retaliation claims proffered and his
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memo of law in support of intervention. The Court mistakenly mixed apples with oranges,

Huminski v. Mr. LaRusso’s papers and threw the baby out with the bathwater.

Concisely, the same order denying an “Amended Complaint” and a “Motion to Intervene”
for the same factual and legal reasons defies logic when the facts are different and when Mr.
LaRusso does not request intervention and states no legal grounds for intervention. There is no
factual or legal similarities between the two papers denied on the same factual and legal grounds
by the Court. The order of 9/2/2022 defies logic and should at least be clarified to allow a
meaningful appeal pursuant to the fact and law proffered by Huminski, not Mr. LaRusso’s wild
assertions. The order appears to punish Huminski for the baseless wild filings of Mr. LaRusso.

American jurisprudence does not support a non-party filing of an Amended Complaint that
never mentioned intervention nor listed a legal basis for the filing of an Amended Complaint nor
intervention. Huminski sees no claims proffered by Mr. LaRusso that remotely resemble the
claims of the Plaintiff, whereas, the First Amendment retaliation plead by Huminski is quite a
good match to the First Amendment claims of Mr. Warren. Both the Plaintiff and Huminski cite
torts by the Governor. Mr. LaRusso does not.

Mr. LaRusso states no claims related to the Governor. Quite to the contrary, Huminski
asserted that the Governor engaged in State Court litigation in 2021 and 2022 seeking to silence
Huminski’s core protected political expression — for life. The Governor’s conduct ensured that
Huminski’s lifetime speech prohibition with the entire State government of Florida would
prejudice Huminski for life. A continuing tort and offense. Mr. LaRusso makes no such claims or
any claims against the Govemor. Mr. LaRusso only appears to disagree with the governance
decisions of Mr. DeSantis in his “Amended Complaint”.

The Governor zealously fought to protect and make permanent in 2021 and 2022 the
Huminski perpetual speech prohibition with the entire government of Florida and attempted to
breathe life into a patently void ab initio judgment achieved without jurisdiction over the parties
or subject matter, a patently outrageous violation of rudimentary Due Process and Equal
Protection,

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Case 4:22-cv-00302-RH-MAF Document61 Filed 09/27/22 Page 7 of 22

The plaintiff in the criminal case was the State of Florida and the speech prohibition does not
expire. Silencing dissent is the hallmark of a police state and a Governor’s successful conduct of
breathing life into a patently void ab initio judgment that contains a lifetime speech prohibition
violates the Eighth Amendment and is a punishment for alleged future speech “crimes”.

The “Amended Complaint” of Mr. LaRusso and Huminski’s well supported and briefed
Motion to Intervene share no similarities, do not seek the same relief and can not be decided with
one paper that may address Mr. LaRusso’s paper, but, fails to address the fact or law proffered by
Huminski. Mr. LaRusso’s paper claims other officials should be suspended by the Governor,
conversely, Huminski pleads constitutional deprivations arising out of the conduct of the
Governor. Mr. LaRusso’s paper seeks no relief against the Governor nor does it allege a similar
tort set forth in the Complaint. Huminski’s paper strongly alleges First Amendment retaliation
among other constitutional deprivations including Due Process (breathing life into a void ab initio

judgment) and Equal Protection (lifetime speech prohibition secured by the Govemor).

As of the date of this paper, Huminski has not received service of the order denying

intervention and found out by viewing the docket online.
Attached hereto as Exhibit “A” is proof of mailing to the Court of this paper.

Attached hereto as Exhibit “B” is a copy of a Huminski recent publication, the type of
speech the Govemor seeks to silence. What the Governor sought to silence and retaliate against is

clear, core protected political First Amendment expression,

https://cdn.muckrock.com > desantis_article pr

Gov. DeSantis: The New Nixon - MuckRock

Gov. DeSantis: The New Nixon. Is the Cover-up worse than the crime? How similar js Gov. Ron
DeSantis’ cover-up.of the felony forgeries of Chief.
3 pages

WHEREFORE, the denial of intervention should be reconsidered/reheard with sufficient detail to
allow a meaningful appeal including an analysis of fact and law which was lumped in with the
nonsensical rantings of Mr. LaRusso in his “Amended Complaint” to allow meaningful appellate
review. The two papers concurrently and simultaneously denied share no fact or law and the
order was based upon virtually no analysis. The 2 papers should be heard separately, they request
different relief. Reconsideration/rehearing is necessary. Obviously, the “Amended Complaint” of
Mr. LaRusso should not survive. Huminski’s plead fact and law present a much different

scenario.
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Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 8 of 22
An Amended Complaint filed by a non-party suffers a dismissal/denial quite different than

a properly supported Motion to Intervene which is held to a different legal and factual standard.
Mr. LaRusso does not mention a tort of Defendant DeSantis once in his Amended Complaint nor
does he complain of any actionable conduct of the Governor. Defendant DeSantis is the sole
tortfeasor proffered by Huminski in his intervention motion. Torts similar, if not identical, to Mr.
Warren’s First Amendment claims. No party has opposed Huminski’s intervention or alleged
prejudice tipping the scales in Huminski’s favor. See Generally Motion to Intervene and the legal

basis for intervention therein.

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-/S/- Scott Huminski | gee ee
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Scott Huminski. pro ae

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Palm Coast, FL 32135

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S_Huminski@live.com
Certificate of Service

Copies of this document and any attachment(s) was served upon the parties via the U.S. Mails
and/or email and/or the e-filing system in this case.

Dated this 10" day of September, 2022:°” -.

 

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-/s/- Scott Huminski ne
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Scott Huminski

EXHIBIT “A”
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EXHIBIT “B”

 

 

 
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Gov. DeSantis: The New Nixon

Is the Cover-up worse than the crime?

How similar is Gov. Ron DeSantis’ cover-up of the felony forgeries of Chief
of Special Prosecutions (Fl 20" Judicial Circuit), Anthony Kunasek, Esq. to
Watergate?

Kunasek committed suicide via a gunshot would to the head 30 days after his
forgeries and DeSantis’ cover-up of the forgery of several court orders was
filed in federal court (in the “Don’t Say Gay” lawsuit) and a day after the FBI
requested an interview with Kunasek conceming his crimes.

Florida prosecutor found dead
First the facts.

In Equality Florida v. DeSantis (U.S.D.C. ND Florida, 4:22-cv-00134-AW-
MJF) (the “Don’t Say Gay” lawsuit) swom court filings stand unopposed by
DeSantis and Florida Attomey General Ashley Moody detailing Kunasek’s
forgery of a show cause order under the direction of State’s Attomey Amira
Fox. Two judicial recusal orders are also on the record as forgeries, however,
it is not clear if Kunasek or courthouse staff forged the 2 disqualification
orders.

DeSantis and Florida Attomey General Ashley Moody took the opportunity
to engage in a cover-up of the forgeries in the Florida 11" Judicial Circuit
(Miami) and the Florida 3" District Court of Appeal (Miami) in 2021-2022
attempting to see to it that the crimes never saw the light of day. The Florida
State Republican appointed judiciary cooperated leading to the matter being
proffered in the federal courts in the Dont Say Gay lawsuit.

First filing in USDC Northern District of Florida
USDC Motion for injunction against DeSantis
Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 13 of 42
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Once in the federal court, Trump appointee and federalist society member
Judge Allen Winsor quickly sua sponte dismissed the charges against
DeSantis despite no party had filed any opposition to the DeSantis
allegations. In federal district court, both DeSantis and the Florida Attorney
General chose to remain silent.

Trump Judge Who Defended Same-Sex Marriage Ban Will Review Florida’s
“Don’t Say Gay” Law

Atlanta Ga, U.S. 11" Circuit Court of Appeals (22-12392-GG, 2022).

An appeal was filed objecting to the rulings of the Trump appointed federal
judge in the lower federal court. The appellate filings, under oath, re-assert
the DeSantis cover-up, corruption and collusion with Florida AG, Ashley
Moody, Esq.. The papers assert acts of moral turpitude by DeSantis and his
attorney in violation of federal criminal statutes 18 U.SC. § § 241, 242
(Conspiracy against rights, violation of rights under color of law) as well as
the constitutional prohibitions that forbid the conduct of DeSantis and
friends.

The appeal seeks to immediately enjoin future conduct of Governor DeSantis
that would further his cover-up of crimes that he perpetrated in the Florida
State courts. His cover-up also caused continuing illegal First Amendment
prohibitions and was a scheme intending to unjustly enrich the treasury of the
State of Florida in 2021-2022.

Emergency Motion Injunction against DeSantis U.S. 11th Circuit Court of
Appeals

urther filing in U.S, 11th Circuit Court of Appeal

On appeal, DeSantis and Attorney General Ashley Moody have remained
silent and the deadline has long passed for them to oppose the injunction
requested in the high Atlanta federal court concerning the corruption in the
highest levels of the Florida State government.
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One of the goals of the injunction under consideration by the federal
appellate court is Florida’s threats to citizens that any communication with
the entire State of Florida’s government is prohibited and will be punished
with imprisonment via contempt. This speech prohibition is memorialized in
an order from a State court that DeSantis has zealously supported and

protected in the State courts. Filing quoting speech prohibition

Once in the federal court system in Tallahassee and now Atlanta, DeSantis
and his attorney have chosen to remain silent.

DeSantis’ ultimate goal related to this litigation is silencing of dissent — one
of the early hallmark’s of a police state.

Is the blood of prosecutor Anthony Kunasek, Esq. on the hands of the Florida
Governor and Attorney General?

DeSantis didn’t plead the Fifth yet, perhaps next time he is in court over this
issue, he will be pleading the Fifth and a federal prosecutor will be asking the
questions.
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Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 14 of 22

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DeSantis corrupt Police State felony courthouse forgery cover-up TRIBUTE

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In The
United States District Court
Northern District of
Florida
ANDREW WARREN, ) Number:
PLAINTIFF, ) 4:92-cv-00302-RH-MAF
Vv. )
RONALD DESANTIS, ET AL. )
DEFENDANTS. )

Cerificate of Service and receipt by the Court, Re:
9/10/2022 Motion

 

NOW COMES. Scott Huminski (“Huminski"), and certifies that the Court received

Iluminski°’s Motion for Reconsideration/Rehearing as follows:

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reilo scott huminski,

Your item was delivered in or at the malibox at
1:54 pm an September 14. 2022 in
GAINESVILLE, FL 32601.

Tracking Number: 9546406698112253541570

After delivery Huminski spoke to a clerk at the Gainesville USDC. Blair, who
acknowledged receipt and that the paper had been transmitted to Clerk Barker in Tallahassee
USDC on the same day of receipt. 9/14/2022. A copy of the envelope as delivered by the 48SPS

was attached to the Motion for Reconsideration/Rehearing as Exhibit “A”. Huminski wél/Sand
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deliver another copy of the Motion for Reconsideration/Rehearing this week. ah
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Huminski also filed a paper with the Court dated September 6, 2022. a Notice of Filing that

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the Court received, but, did not docket. Huminski believes that there is some improper coadict
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related to the censorship of papers filed with the Court. See envelope sent 9/10/2022, 3 ff
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Case 4:22-cv-00302-RH-MAF Document 61 File

   

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-/S/- Scott Huminski

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Certificate of Service

Copies of this document and any attachment(s) was served upon the parties via the U.S. Mails
and/or email and/or the e-filing system in this case.

Dated this 19" day of September, 2022. rs
-/s/- Scott Huminski - .

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Scott Huminski 4" & =

 

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Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 19 of 42
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
OFFICE OF THE CLERK
11f NORTH ADAMS STREET, SUITE 322
TALLAHASSEE, FLORIDA 32301-7717

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{ Palm Coast, Florida 32135
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Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 21 of 42
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 20 of 22

EXHIBIT “D”
Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 22 of 42
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Page 1 of 2

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

ANDREW H. WARREN,

Plaintiff,
Vv. CASE NO. 4:22cv302-RH-MAF
RON DESANTIS,

Defendant.

ORDER DENYING MOTIONS TO INTERVENE

In this action a State Attorney challenges his removal by the Governor. Scott
Huminski, a nonparty who has no apparent interest in this litigation other than as a
lay observer, has moved for leave to intervene.

Michael LoRusso, another nonparty who has no apparent interest in this
litigation other than as a lay observer, has submitted a document entitled
“Amended Complaint of Petitioner.” As a nonparty, Mr. LoRusso has no right to
submit pleadings or other documents. His filing may be an attempt to intervene and

will be treated as a motion for leave to do so.

Case No. 4:22cv302-RH-MAF
Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 23 of 42
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Pape 2 of 2

Neither Mr. Huminski nor Mr. LoRusso has alleged facts entitling them to
intervene as of right under Federal Rule of Civil Procedure 24(a) or making them
eligible for permissive intervention under Rule 24(b). As a matter of discretion,
neither would be granted leave to intervene permissively, even if they were
somehow deemed eligible under Rule 24(b).

Mr. Huminski and Mr. LoRusso should file nothing further. This is not an
open forum for submission of public comments.

IT IS ORDERED:

1. Mr. Huminski’s motion for leave to intervene, ECF No. 9, is denied. His
notice of appearance, ECF No. 25, and affidavit, ECF No. 26, are struck.

2. Mr. LoRusso’s “amended complaint,” ECF No. 12, is deemed a motion
for leave to intervene. The motion is denied.

3. The clerk must provide copies of this order to Mr. Huminski and Mr.
LoRusso but not add them to the docket or provide them copies of further filings.

SO ORDERED on September 2, 2022.

s/Robert L. Hinkle
United States District Judge

Case No. 4:22¢v302-RH-MAF
1 of 19

Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 24 of 42

Query Reports

Utilities

Help
APPEAL

U.S. District Court
Northern District of Florida (Tallahassee)
CIVIL DOCKET FOR CASE #: 4:22-cv-00302-RH-MAF

WARREN v. DESANTIS
Assigned to: JUDGE ROBERT L HINKLE

Referred to: MAGISTRATE JUDGE MARTIN A

FITZPATRICK
Cause: 42:1983 Civil Rights Act

Plaintiff
ANDREW H WARREN

Date Filed: 08/17/2022

Jury Demand: None

Nature of Suit: 440 Civil
Rights: Other

Jurisdiction: Federal Question

represented by ALEXIS DANNEMAN

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2 of 19

Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 25 of 42

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ATTORNEY TO BE NOTICED
V.
Defendant
RON DESANTIS represented by HENRY CHARLES WHITAKER
INDIVIDUALLY AND IN FLORIDA OFFICE OF THE
HIS OFFICIAL CAPACITY ATTORNEY GENERAL

AS GOVERNOR OF THE PL-01 THE CAPITOL
3 of 19

Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 26 of 42

STATE OF FLORIDA

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ATTORNEY TO BE NOTICED
4 of 19

Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 27 of 42

Amicus

FORMER
PROSECUTORS
ATTORNEY GENERAL
JUDGES UNITED
STATES ATTORNEYS
AND FEDERAL
OFFICIALS AND
CURRENT AND
FORMER LAW
ENFORCEMENT
OFFICIALS AND
LEADERS

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HOWELL WEBSTER MELTON , III
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5 of 19

Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 28 of 42

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6 of 19

Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 29 of 42

Amicus

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7 of 19

Case 4:22-cv-00302-RH-MAF Document 64 Filed 09/27/22 Page 30 of 42

Amicus

CONSTITUTION
REVISION
COMMISSION
MEMBERS

Amicus

STATE
CONSTITUTIONAL
LAW SCHOLARS

Amicus

FLORIDA SHERIFF'S
ASSOCIATION

Amicus

PATRIOTS
TERMINATED:
09/12/2022

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represented by ADAM G UNIKOWSKY

(See above for address)
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ATTORNEY TO BE NOTICED
8 of 19

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Date Filed

Docket Text

 

08/17/2022

JR

COMPLAINT against RON DESANTIS ( Filing fee $ 402
receipt number AFLNDC-7401384.), filed by ANDREW H
WARREN. (Attachments: # 1 Exhibit 1 - Executive Order, #
2 Exhibit 2 - Prosecutorial Discretion Memo, # 3 Exhibit 3 -
Presumption of Non-Prosecution, # 4 Exhibit 4 - Bike and
Pedestrian Stop Policy, # 5 Summons for Ron DeSantis)
(SINGER, DAVID) (Entered: 08/17/2022)

 

08/17/2022

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CIVIL COVER SHEET. (SINGER, DAVID) (Entered:
08/17/2022)

 

08/17/2022

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MOTION for Preliminary Injunction by ANDREW H
WARREN. (Attachments: # 1 Supplement Memorandum in
Support of Motion for Preliminary Injunction, # 2 Affidavit
Decl. of Andrew Warren, # 3 Affidavit Dec. of David Singer,
# 4 Exhibit 1 - Executive Order, # 5 Exhibit 2 - YouTube
Video DeSantis on Gender, # 6 Exhibit 3 - YouTube Video
suspension, # 7 Exhibit 4 - Twitter Post by Warren, # 8
Exhibit 5 - Twitter Post by DeSantis, # 9 Exhibit 6 Gov.
DeSantis State of the State Address, # 10 Exhibit 7 - Twitter
Post by Christina Pushaw, # 11 Exhibit 8 - Fox 13 News
Article, # 12 Exhibit 9 - YouTube Video Lopez, # 13 Exhibit
10 - Press Release, # 14 Exhibit 11 - Orlando Sentinel
Article by Steve Lemongello, # 15 Exhibit 12 - Orlando
Sentinel Article by Skyler Swisher, # 16 Exhibit 13 - Tampa
Bay Times Article by Marrero, # 17 Exhibit 14 - News
Channel 8 Article by Schecker) (SINGER, DAVID) (Entered:
08/17/2022)

 

08/17/2022

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Summons Issued as to RON DESANTIS. (rcb) (Entered:
08/17/2022)

 

 

08/18/2022

 

 

NOTICE OF HEARING Telephonic Scheduling Conference
set for 8/26/2022 2:00PM before JUDGE ROBERT L
HINKLE.

Call in number: 888-684-8852
Access code: 32434164
Security code: 1234#

Proceedings may not be recorded or otherwise broadcast
for public dissemination.

 

 
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08/18/2022

08/18/2022

08/19/2022

08/22/2022

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08/24/2022

08/25/2022

08/25/2022

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s/ Sherrye Stephens
Judicial Assistant (sms). (Entered: 08/18/2022)

ORDER SETTING A SCHEDULING CONFERENCE
(Entered: 08/18/2022)

ORDER SETTING A SCHEDULING CONFERENCE. By
separate notice, the clerk must set a scheduling conference
by telephone for 8/26/2022 02:00 PM in U.S. Courthouse
Tallahassee before JUDGE ROBERT L HINKLE at 2:00 p.m.
The plaintiff must serve copies of the papers listed above on
the defendant by noon on 8/23/2022, in the manner
provided by law for service of process, if by that time the
plaintiff's attorney has not learned the identity of the
defendants attorneys. Signed by JUDGE ROBERT L HINKLE
on 08/18/2022. (rcb) (Entered: 08/18/2022)

NOTICE of Appearance by JEFFREY PAUL DESOUSA on
behalf of RON DESANTIS (DESOUSA, JEFFREY) (Entered:
08/19/2022)

Set Deadline-Attorney Admissions for Alexis E. Danneman,
Matthew R. Koerner &Margo R. Casselman due by
9/5/2022. (rcb) (Entered: 08/22/2022)

ACTION REQUIRED BY DISTRICT JUDGE: Chambers of
JUDGE ROBERT L HINKLE notified that action is needed
Re: 8 Notice of Appearance (rcb)**An ISO is needed**
(Entered: 08/22/2022)

MOTION to Intervene with Attchments by Scott Huminski.
(rcb) (Entered: 08/22/2022)

10 NOTICE Joint Notice of Compliance and Proposed Schedule

by ANDREW H WARREN re 5 Notice of Hearing, 6 Order, 7
Order,,, Set Deadlines/Hearings,, (SINGER, DAVID)
(Entered: 08/22/2022)

MOTION TO INTERVENE (DOCUMENT TITLED AMENDED
COMPLAINT OF PETITIONER). (rcb) (Entered: 08/25/2022)

NOTICE OF CANCELLATION re 5 Notice of Hearing: The
telephonic scheduling conference scheduled for August 26
at 2:00 p.m. is CANCELED. (ckm) (Entered: 08/25/2022)

SCHEDULING ORDER :. Signed by JUDGE ROBERT L
HINKLE on 8/25/22. (mkb) (Entered: 08/25/2022)
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08/25/2022

08/26/2022

08/26/2022

08/29/2022

08/29/2022

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Set Initial Scheduling Order Deadlines-Fed.R.Civ.P. 7.1
Corporate Disclosure Statement Deadline set for 9/8/2022.,
Rule 26 Meeting Report due by 10/7/2022., Attorney
Conference to take place by 9/23/2022., Discovery due by
2/23/2023. Jury Trial set for 6/5/2023 08:15 AM in US.
Courthouse Tallahassee before JUDGE ROBERT L HINKLE.
(rcb) (Entered: 08/29/2022)

UNOPPOSED MOTION BY FORMER PROSECUTORS,
ATTORNEYS GENERAL, JUDGES, UNITED STATES
ATTORNEYS AND FEDERAL OFFICIALS, AND CURRENT
AND FORMER LAW ENFORCEMENT OFFICIALS AND
LEADERS FOR LEAVE TO FILE AMICUS CURIAE BRIEF.
(Internal deadline for referral to judge if response not filed
earlier: 9/9/2022). (Attachments: # 1 Amicus Brief)
(WARREN, JEFFREY) Modified to edit title on 8/29/2022
(rcb). (Entered: 08/26/2022)

NOTICE OF HEARING: Preliminary-Injunction Hearing set
for 9/19/2022 09:00 AM before JUDGE ROBERT L
HINKLE, United States Courthouse, Courtroom 5 East, 111
North Adams St., Tallahassee, Florida 32301.

Judge Hinkle requires that all persons in his
courtroom wear masks.

NOTE: If you or any party, witness or attorney in this matter
has a disability that requires special accommodation, such
as a hearing impairment that requires a sign language
interpreter or a wheelchair restriction that requires ramp
access, please contact Cindy Markley at 850-521-3518 in
the Clerk's Office at least one week prior to the hearing (or
as soon as possible) so arrangements can be made.

s/ Cindy Markley
Courtroom Deputy Clerk (ckm) (Entered: 08/26/2022)

Set Deadline-Attorney Admissions for Steven A.
Newborn*Lauren Bernstein*Tania C. Matsuoka*Sarah
Schnorrenberg*Adam King*Sherry Safavi due by
9/12/2022. (rcb) (Entered: 08/29/2022)

NOTICE of Appearance by MORRIS WEINBERG, JR on
behalf of Legal Scholars (WEINBERG, MORRIS) (Entered:
08/29/2022)
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08/29/2022

08/30/2022

08/30/2022

08/30/2022

08/30/2022

08/30/2022

08/31/2022

17 NOTICE of Appearance by SARA LAWSON on behalf of

Legal Scholars (LAWSON, SARA) (Entered: 08/29/2022)

PLAINTIFF'S MOTION FOR LEAVE TO APPEAR PRO HAC
VICE BY JEAN-JACQUES CABOU, CONSENT TO
DESIGNATION, AND REQUEST TO ELECTRONICALLY
RECEIVE NOTICES OF ELECTRONIC FILING. (Filing fee $
208 receipt number AFLNDC-7420415) (CABOU, JEAN-
JACQUES) Modified to edit title on 8/31/2022 (rcb).
(Entered: 08/30/2022)

PLAINTIFFS MOTION FOR LEAVE TO APPEAR PRO HAC
VICE BY ALEXIS DANNEMAN, CONSENT TO
DESIGNATION, AND REQUEST TO ELECTRONICALLY
RECEIVE NOTICES OF ELECTRONIC FILING.( Filing fee $
208 receipt number AFLNDC-7420483.) by ANDREW H
WARREN. (CABOU, JEAN-JACQUES) Modified on 8/31/2022
(rcb). (Entered: 08/30/2022)

PLAINTIFF'S MOTION FOR LEAVE TO APPEAR PRO HAC
VICE BY MATTHEW KOERNER, CONSENT TO
DESIGNATION, AND REQUEST TO ELECTRONICALLY
RECEIVE NOTICES OF ELECTRONIC FILING.( Filing fee $
208 receipt number AFLNDC-7420490.) by ANDREW H
WARREN. (CABOU, JEAN-JACQUES) Modified to edit title
on 8/31/2022 (rcb). (Entered: 08/30/2022)

PLAINTIFF'S MOTION FOR LEAVE TO APPEAR PRO HAC
VICE BY MARGO R. CASSELMAN, CONSENT TO
DESIGNATION, AND REQUEST TO ELECTRONICALLY
RECEIVE NOTICES OF ELECTRONIC FILING.( Filing fee $
208 receipt number AFLNDC-7420497.) by ANDREW H
WARREN. (CABOU, JEAN-JACQUES) Modified to edit title
on 8/31/2022 (rcb). (Entered: 08/30/2022)

MOTION for Leave to File Legal Scholars' Amicus Curiae
Brief by Legal Scholars. (Attachments: # 1 Exhibit A -
Proposed Brief of Legal Scholars as Amici Curiae)
(LAWSON, SARA) (Entered: 08/30/2022)

ACTION REQUIRED BY MAGISTRATE JUDGE: Chambers of
MAGISTRATE JUDGE MARTIN A FITZPATRICK notified that
action is needed Re: 20 MOTION to Appear Pro Hac Vice by
Matthew Koerner.( Filing fee $ 208 receipt number
AFLNDC-7420490.), 19 MOTION to Appear Pro Hac Vice by
Alexis Danneman.( Filing fee $ 208 receipt number
12 of 19

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08/31/2022

08/31/2022

08/31/2022

08/31/2022

09/02/2022

09/02/2022

AFLNDC-7420483.), 21 MOTION to Appear Pro Hac Vice by
Margo Casselman.( Filing fee $ 208 receipt number
AFLNDC-7420497.), 18 MOTION to Appear Pro Hac Vice by
Jean-Jacques Cabou.( Filing fee $ 208 receipt number
AFLNDC-7420415.). Referred to MARTIN A FITZPATRICK.
(rcb) (Entered: 08/31/2022)

NOTICE of Appearance by ADAM G UNIKOWSKY on behalf
of CONSTITUTION REVISION COMMISSION MEMBERS,
STATE CONSTITUTIONAL LAW SCHOLARS (UNIKOWSKY,
ADAM) (Entered: 08/31/2022)

MOTION for Leave to File / Constitution Revision
Commission Members' and State Constitutional Law
Scholars' Motion for Leave to File an Amicus Brief by
CONSTITUTION REVISION COMMISSION MEMBERS,
STATE CONSTITUTIONAL LAW SCHOLARS. (Attachments:
# 1 Exhibit 1 - Amicus Brief) (UNIKOWSKY, ADAM)
(Entered: 08/31/2022)

25 **STRICKEN PER ECF 31 ** NOTICE of Appearance Scott

Huminski as a proposed intervenor (rcb) Modified to add
"stricken" language on 9/6/2022 (rcb). (Entered:
09/01/2022)

**STRICKEN PER ECF 31 ** AFFIDAVIT OF SCOTT
HUMINSKI RE: GOV DESANTIS' COVER UP OF STATE
ATTORNEY'S FORGERY OF COURT ORDERS (rcb) Modified
to add "stricken" language on 9/6/2022 (rcb). (Entered:
09/01/2022)

ORDER GRANTING 22 & 24 LEAVE TO FILE AMICUS
BRIEFS. The motions for leave to file amicus curiae briefs,
ECF Nos. 22 and 24 , are granted. The amicus curiae briefs
are deemed properly filed. Either party may file a response
to an amicus brief by 9/14/2022. Signed by JUDGE
ROBERT L HINKLE on 09/02/2022. (rcb) (Entered:
09/02/2022)

MOTION to Appear Pro Hac Vice by Lauren Bernstein.(
Filing fee $ 208 receipt number AFLNDC-7425760.) by
FORMER PROSECUTORS ATTORNEY GENERAL JUDGES
UNITED STATES ATTORNEYS AND FEDERAL OFFICIALS
AND CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS. (BERNSTEIN, LAUREN)
(Entered: 09/02/2022)
13 of 19

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09/02/2022

09/02/2022

09/02/2022

09/06/2022

09/06/2022

MOTION to Appear Pro Hac Vice by Sarah Schnorrenberg.(
Filing fee $ 208 receipt number AFLNDC-7425914.) by
FORMER PROSECUTORS ATTORNEY GENERAL JUDGES
UNITED STATES ATTORNEYS AND FEDERAL OFFICIALS
AND CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS. (SCHNORRENBERG, SARAH)
(Entered: 09/02/2022)

Consolidated MOTION to Dismiss and Memorandum of Law,
and Response in Opposition to 3 Motion for Preliminary
Injunction by RON DESANTIS. (Internal deadline for
referral to judge if response not filed earlier: 9/16/2022).
(WHITAKER, HENRY) Modified on 9/16/2022 to reflect
complete document title (ckm). (Entered: 09/02/2022)

ORDER DENYING 9 & 12 MOTIONS TO INTERVENE. Mr.
Huminski's motion for leave to intervene, ECF No. 9, is
denied. His notice of appearance, ECF No. 25, and affidavit,
ECF No. 26, are struck. Mr. LoRusso's amended complaint,
ECF No. 12 , is deemed a motion for leave to intervene. The
motion is denied. The clerk must provide copies of this
order to Mr. Huminski and Mr. LoRusso but not add them to
the docket or provide them copies of further filings. Signed
by JUDGE ROBERT L HINKLE on 09/02/2022. (rcb)**Copies
of ECF 31 forwarded as directed to Mr LoRusso & Mr
Huminiski** Modified on 9/6/2022 (rcb). (Entered:
09/06/2022)

ACTION REQUIRED BY MAGISTRATE JUDGE: Chambers of
MAGISTRATE JUDGE MARTIN A FITZPATRICK notified that
action is needed Re: 29 MOTION to Appear Pro Hac Vice by
Sarah Schnorrenberg.( Filing fee $ 208 receipt number
AFLNDC-7425914.), 28 MOTION to Appear Pro Hac Vice by
Lauren Bernstein.( Filing fee $ 208 receipt number
AFLNDC-7425760.). Referred to MARTIN A FITZPATRICK.
(rcb) (Entered: 09/06/2022)

ORDER. The motion for leave to appear pro hac vice, ECF
No. 18 , isprovisionally GRANTED. No later than September
15, 2022, counsel Jean-Jacques Cabou must pay the $208.00
pro hac vice admission fee. Signed by MAGISTRATE JUDGE
MARTIN A FITZPATRICK on 09/06/2022. (rcb)** (Appointed
JEAN-JACQUES CABOU for ANDREW H WARREN) **
(Entered: 09/06/2022)
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Set Deadline- Admissions Fee due for Attorney Jean Jacques
Cabou by 9/15/2022. (rcb) (Entered: 09/06/2022)

ORDER. Accordingly, it is ORDERED that the motion for
leave to appear prohac vice, ECF No. 20, is GRANTED.
Signed by MAGISTRATE JUDGE MARTIN A FITZPATRICK
on 09/06/2022. (rcb)**Appointed MATTHEW ROBERT
KOERNER for ANDREW H WARREN** (Entered:
09/06/2022)

ORDER. Accordingly, it is ORDERED that the motion for
leave to appear prohac vice, ECF No. 19, is GRANTED.
Signed by MAGISTRATE JUDGE MARTIN A FITZPATRICK
on 09/06/2022. (rcb)**Appointed ALEXIS DANNEMAN for
ANDREW H WARREN** (Entered: 09/06/2022)

35 ORDER. Accordingly, it is ORDERED that the motion for

leave to appear prohac vice, ECF No. 21, is GRANTED.
Signed by MAGISTRATE JUDGE MARTIN A FITZPATRICK
on 09/06/2022. (rcb)** Appointed MARGO ROSE
CASSELMAN for ANDREW H WARREN** (Entered:
09/06/2022)

ORDER. Accordingly, it is ORDERED that the motion for
leave to appear prohac vice, ECF No. 28, is GRANTED.
Signed by MAGISTRATE JUDGE MARTIN A FITZPATRICK
on 09/06/2022. (rcb)**Appointed LAUREN JACOBSON
BERNSTEIN for Appointed FORMER Sarah Schnorrenberg
PROSECUTORS ATTORNEY GENERAL JUDGES UNITED
STATES ATTORNEYS AND FEDERAL OFFICIALS AND
CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS Role ** (Entered: 09/06/2022)

ORDER. Accordingly, it is ORDERED that the motion for
leave to appear pro hac vice, ECF No. 29, is GRANTED.
Signed by MAGISTRATE JUDGE MARTIN A FITZPATRICK
on 09/06/2022. (rcb)**Appointed Sarah Schnorrenberg for
FORMER PROSECUTORS ATTORNEY GENERAL JUDGES
UNITED STATES ATTORNEYS AND FEDERAL OFFICIALS
AND CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS Role ** (Entered: 09/06/2022)

FLORIDA SHERIFFS ASSOCIATION'S UNOPPOSED
MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF.
(Internal deadline for referral to judge if response not filed
earlier: 9/20/2022). (Attachments: # 1 Exhibit) (EVANS,
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ROBERT) Modified to edit title on 9/7/2022 (rcb). (Entered:
09/06/2022)

39 MOTION to Appear Pro Hac Vice by Adam King.( Filing fee

$ 208 receipt number AFLNDC-7430609.) by FORMER
PROSECUTORS ATTORNEY GENERAL JUDGES UNITED
STATES ATTORNEYS AND FEDERAL OFFICIALS AND
CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS. (KING, ADAM) (Entered:
09/07/2022)

ORDER. The Clerk of Court must terminate the deadline set
in the September 6, 2022, Order, ECF No. 32, for counsel to
pay the fee. Signed by MAGISTRATE JUDGE MARTIN A
FITZPATRICK on 09/07/2022. (rcb) **PHV Fee Deadline
terminated as directed** (Entered: 09/07/2022)

ACTION REQUIRED BY MAGISTRATE JUDGE: Chambers of
MAGISTRATE JUDGE MARTIN A FITZPATRICK notified that
action is needed Re: 39 MOTION to Appear Pro Hac Vice by
Adam King.( Filing fee $ 208 receipt number AFLNDC-
7430609.). Referred to MARTIN A FITZPATRICK. (rcb)
(Entered: 09/07/2022)

ORDER. Accordingly, it is ORDERED that the motion for
leave to appear pro hac vice, ECF No. 39, is GRANTED.
Signed by MAGISTRATE JUDGE MARTIN A FITZPATRICK
on 09/07/2022. (rcb) (Entered: 09/07/2022)

42 NOTICE of Appearance by DAVID MATTHEW COSTELLO on

behalf of RON DESANTIS (COSTELLO, DAVID) (Entered:
09/08/2022)

ORDER GRANTING LEAVE TO FILE AMICUS CURIAE
BRIEF. The unopposed motion of former prosecutors and
others for leave to file an amicus curiae brief, ECF No. 14,
is granted. The amicus curiae brief, ECF No. 14 -1, is
deemed properly filed. Signed by JUDGE ROBERT L
HINKLE on 09/08/2022. (rcb) (Entered: 09/09/2022)

MOTION to Appear Pro Hac Vice by Tania Matsuoka.( Filing
fee $ 208 receipt number AFLNDC-7435931.) by FORMER
PROSECUTORS ATTORNEY GENERAL JUDGES UNITED
STATES ATTORNEYS AND FEDERAL OFFICIALS AND
CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS. (MATSUOKA, TANIA) (Entered:
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09/12/2022

09/12/2022

09/13/2022

09/09/2022)

ORDER SETTING THE TIME LIMIT FOR ORAL ARGUMENT
AND GRANTING LEAVE TO FILE AN AMICUS
BRIEFgranting 38 Motion to File Amicus Brief. Signed by
JUDGE ROBERT L HINKLE on 9/7/22. (sms) (Entered:
09/09/2022)

46 REPLY to Response to Motion re 3 MOTION for Preliminary

Injunction , 30 MOTION to Dismiss (Consolidated Reply in
Support of Motion for Preliminary Injunction and Response
in Opposition to Motion to Dismiss) filed by ANDREW H
WARREN. (CABOU, JEAN-JACQUES) (Entered: 09/09/2022)

**kECF 47-1 STRICKEN PER ECF 48 ** MOTION to File
Amicus Brief by Patriots. (Internal deadline for referral to
judge if response not filed earlier: 9/23/2022).
(Attachments: # 1 Exhibit Proposed Patriot Brief)
(BELTRAN, MICHAEL) Modified to edit add "stricken"
language on 9/14/2022 (rcb). (Entered: 09/09/2022)

Set Deadline Re: 45 - Response to the amicus brief by
9/14/2022. (rcb) (Entered: 09/12/2022)

ACTION REQUIRED BY MAGISTRATE JUDGE: Chambers of
MAGISTRATE JUDGE MARTIN A FITZPATRICK notified that
action is needed Re: 44 MOTION to Appear Pro Hac Vice by
Tania Matsuoka.( Filing fee $ 208 receipt number AFLNDC-
7435931.). Referred to MARTIN A FITZPATRICK. (rcb)
(Entered: 09/12/2022)

ORDER denying 47 Leave to File the "Patriot" Amicus Brief.
Signed by JUDGE ROBERT L HINKLE on 9/12/22. (sms)
(Entered: 09/12/2022)

MOTION to Appear Pro Hac Vice by Steven Newborn.{
Filing fee $ 208 receipt number AFLNDC-7438316.) by
FORMER PROSECUTORS ATTORNEY GENERAL JUDGES
UNITED STATES ATTORNEYS AND FEDERAL OFFICIALS
AND CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS. (Attachments: # 1 Certificate of
Good Standing) (NEWBORN, STEVEN) (Entered:
09/12/2022)

ACTION NO LONGER REQUIRED BY DISTRICT JUDGE:
Chambers of JUDGE ROBERT L HINKLE notified that action
is no longer needed Re: 49 MOTION to Appear Pro Hac Vice
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by Steven Newborn. **Action No Longer Required Incorrect
Referral Made**. ( Filing fee $ 208 receipt number
AFLNDC-7438316.). Referred to MARTIN A FITZPATRICK.
(rcb) (Entered: 09/13/2022)

ACTION REQUIRED BY MAGISTRATE JUDGE: Chambers of
MAGISTRATE JUDGE MARTIN A FITZPATRICK notified that
action is needed Re: 49 MOTION to Appear Pro Hac Vice by
Steven Newborn.( Filing fee $ 208 receipt number AFLNDC-
7438316.). Referred to MARTIN A FITZPATRICK. (rcb)
(Entered: 09/13/2022)

MOTION to Appear Pro Hac Vice by Sherry Safavi.( Filing
fee $ 208 receipt number AFLNDC-7440149.) by FORMER
PROSECUTORS ATTORNEY GENERAL JUDGES UNITED
STATES ATTORNEYS AND FEDERAL OFFICIALS AND
CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS. (Attachments: # 1 Certificate of
Good Standing) (SAFAVI, SHERRY) (Entered: 09/13/2022)

ORDER. Accordingly, it is ORDERED that the motion for
leave to appear prohac vice, ECF No. 44, is GRANTED.
(Appointed TANIA C MATSUOKA for FORMER
PROSECUTORS ATTORNEY GENERAL JUDGES UNITED
STATES ATTORNEYS AND FEDERAL OFFICIALS AND
CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS). Signed by MAGISTRATE
JUDGE MARTIN A FITZPATRICK on 09/13/2022. (rcb)
(Entered: 09/13/2022)

ORDER. Accordingly, it is ORDERED that the motion for
leave to appear pro hac vice, ECF No. 49 is GRANTED.
(Appointed STEVEN A NEWBORN for FORMER
PROSECUTORS ATTORNEY GENERAL JUDGES UNITED
STATES ATTORNEYS AND FEDERAL OFFICIALS AND
CURRENT AND FORMER LAW ENFORCEMENT
OFFICIALS AND LEADERS). Signed by MAGISTRATE
JUDGE MARTIN A FITZPATRICK on 09/13/2022. (rcb)
(Entered: 09/14/2022)

ORDER. Accordingly, it is ORDERED that the motion for
leave to appear pro hac vice, ECF No. 50, is GRANTED.
(Appointed SHERRY SAFAVI for FORMER PROSECUTORS
ATTORNEY GENERAL JUDGES UNITED STATES
ATTORNEYS AND FEDERAL OFFICIALS AND CURRENT
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AND FORMER LAW ENFORCEMENT OFFICIALS AND
LEADERS). Signed by MAGISTRATE JUDGE MARTIN A
FITZPATRICK on 09/13/2022. (rcb) (Entered: 09/14/2022)

RESPONSE to Motion re 38 MOTION to File Amicus Brief
(Plaintiff's Response to Amici Curiae) filed by ANDREW H
WARREN, (KOERNER, MATTHEW) (Entered: 09/14/2022)

Minute Entry for proceedings held before JUDGE ROBERT L
HINKLE: Preliminary-Injunction Hearing held on 9/19/2022.
Ruling by Court: Motion to dismiss the first amendment
claim is denied. Motion to dismiss the state claim is granted.
Preliminary injunction is denied. Rule 26 report due by
September 27. An order will follow. (Court Reporter Lisa
Snyder, Official Court Reporter) (ckm) (Entered:
09/19/2022)

Set Deadline- Rule 26 Meeting Report due by 9/27/2022
Re: 55 (rcb) (Entered: 09/20/2022)

ORDER ADVANCING THE DEADLINE FOR THE RULE 26(f)
REPORT. As set out on the record of the hearing on
September 19, 2022, the deadline for the Federal Rule of
Civil Procedure 26(f) report is advanced to 9/2'7/2022.
Signed by JUDGE ROBERT L HINKLE on 09/20/2022. (rcb)
(Entered: 09/20/2022)

57. NOTICE of Appearance by JEFFREY MICHAEL AARON on

behalf of RON DESANTIS (AARON, JEFFREY) (Entered:
09/21/2022)

NOTICE of Appearance by GEORGE TY LEVESQUE on
behalf of RON DESANTIS (LEVESQUE, GEORGE) (Entered:
09/21/2022)

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of
Preliminary Injunction Hearing Proceedings held on
9/19/2022, before Judge Robert Hinkle. Court
Reporter/Transcriber Lisa Snyder, Telephone number
850-567-1374.

Transcript may be viewed at the court public
terminal or purchased through the Court
Reporter/Transcriber before the deadline for
Release of Transcript Restriction. After that date it
may be obtained through PACER.
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Redaction Request due 9/30/2022. Release of Transcript
Restriction set for 12/29/2022. (ls) (Entered: 09/23/2022)

60 MOTION Certification under 28 U.S.C. § 1292(b) by RON

DESANTIS. (WHITAKER, HENRY) (Entered: 09/26/2022)

Set/Reset Deadlines as to 60 MOTION Certification under
28 U.S.C. § 1292(b) . (Internal deadline for referral to judge
if response not filed earlier: 10/11/2022). (rcb) (Entered:
09/27/2022)

61 Non-Party NOTICE OF APPEAL as to 31 ORDER DENYING

9 & 12 MOTIONS TO INTERVENE as to Scott Huminski.
(kdm) (Entered: 09/27/2022)

USCA Appeal Fees received $ 505 receipt number 1-4439 re
61 Non-Party Notice of Appeal as to Scott Huminski. (kdm)
(Entered: 09/27/2022)

CERTIFICATE OF READINESS re 61 Non-Party Notice of
Appeal as to Scott Huminski. (kdm) (Entered: 09/27/2022)
